Case 4:17-cv-00669-CVE-FHM Document 2 Filed in USDC ND/OK on 12/12/17 Page 1 of 5




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OKLAHOMA

  (1) ATALIE HAMIL, an individual,          )
                                            )
         Plaintiff,                         )
                                            )
  v.                                        )       Case No. 17-cv-669-CVE-FHM
                                            )
  (1) METROPOLITAN PROPERTY                 )
   AND CASUALTY INSURANCE                   )
  COMPANY, a/k/a and/or d/b/a               )
  METLIFE AUTO & HOME, a/k/a                )
  and/or d/b/a METLIFE, a Foreign           )
  For-Profit Corporation, and (2) JOHN      )
  DOE, a business entity, and (3) JANE      )
  DOE, an individual,                       )
                                            )
         Defendants.                        )

                                 NOTICE OF REMOVAL

         COMES NOW Metropolitan Group Property and Casualty Insurance Company,

  improperly named as Metropolitan Property and Casualty Insurance Company a/k/a and/or

  d/b/a MetLife Auto & Home, a/k/a and/or d/b/a MetLife (“MetLife”), and pursuant to 28

  U.S.C. § 1446 and Fed. R. Civ. P. 81(c) states:

         1.     The above entitled suit was filed in the District Court of Tulsa County, State

  of Oklahoma as Case No. CJ-2017-3841 on September 28, 2017. Defendant MetLife was

  served through the office of the Oklahoma Insurance Commissioner on November 13, 2017.

  Receipt of service was the first notice MetLife received of this suit. In accordance with 28

  U.S.C. §1446(a) and LCvR 81.2, a copy of the docket sheet and a copy of all documents filed

  or served in the Tulsa County case are attached to this Notice as Exhibits “1" through “4".
Case 4:17-cv-00669-CVE-FHM Document 2 Filed in USDC ND/OK on 12/12/17 Page 2 of 5




         2.     Plaintiff is a citizen of the State of Oklahoma and a resident of Tulsa County,

  Oklahoma.

         3.     Defendant MetLife is a corporation organized under the laws of the State of

  Rhode Island, and its principal place of business is in Rhode Island; therefore, MetLife is

  deemed to be a Rhode Island citizen for purposes of diversity.

         4.     Defendants John Doe and Jane Doe have not been properly joined and served

  in this matter. According to 28 U.S.C. § 1441(b), a civil action removable solely on the basis

  of diversity may not be removed if any of the parties in interest properly joined and served

  as defendants is a citizen of the State in which the action is brought. “Section 1441(b) allows

  removal of diversity actions where none of the defendants properly joined and served is a

  resident of the state in which the action is served.” Wensil v. E.I. Dupont De Nemours and

  Co., 792 F.Supp. 447, 449 (D.S.C. 1992). At the time of this removal, only MetLife, which

  is not an Oklahoma resident, has been served. No other defendant has been properly joined

  and served. Thus, there is complete diversity between Plaintiff and Defendant MetLife.

         5.     Title 28, United States Code § 1441(a) provides that “[f]or purposes of removal

  under this chapter, the citizenship of defendants sued under fictitious names shall be

  disregarded.” The Tenth Circuit has held that, consistent with the text of 28 U.S.C. § 1441(a),

  the citizenship of “John Doe” defendants should be disregarded when considering the

  propriety of removal under 28 U.S.C. §§ 1441(a) and 1332. Australian Gold, Inc. v. Hatfield,

  436 F.3d 1228, 1235 (10th Cir. 2006). Other Circuit Courts have also held that “John Does”


                                                                                               2
Case 4:17-cv-00669-CVE-FHM Document 2 Filed in USDC ND/OK on 12/12/17 Page 3 of 5




  are disregarded for purposes of removal on the basis of diversity of citizenship. See, e.g.,

  Howell ex rel. Goerdt v. Tribune Entm't Co., 106 F.3d 215, 218 (7th Cir.1997) (“[N]aming

  a John Doe defendant will not defeat the named defendants' right to remove a diversity case

  if their citizenship is diverse from that of the plaintiffs.”); Alexander v. Electronic Data Sys.

  Corp., 13 F.3d 940, 948 (6th Cir.1994) (“It is clear that ‘Jane Doe’ is a fictitious name; no

  such real person was ever named, and plaintiff never identified the alleged person.... Section

  1441(a) compels that this ‘named’ defendant be disregarded for purposes of diversity

  jurisdiction.”). Thus, there is complete diversity between Plaintiff and Defendant MetLife,

  and removal is proper.

         6.     Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. § 1332.

  Removal is proper pursuant to 28 U.S.C. §1441, et seq.

         7.     In this case, Plaintiff brings causes of action for breach of an insurance contract

  and bad faith against MetLife, arising from an insurance claim for uninsured

  motorist/underinsured motorists benefits for alleged injuries sustained in a motor vehicle

  accident.

         8.     The Petition alleges that Plaintiff is entitled to damages from MetLife in “an

  amount under $75,000.00, [as well as] punitive damages. . . .” The Defendant must

  affirmatively establish jurisdiction, by a preponderance of the evidence, by proving

  jurisdictional facts that make it possible that $75,000 is in play. McPhail v. Deere & Co., 529

  F.3d 947, 955 (10th Cir. 2008)“[A] defendant's notice of removal need include only a


                                                                                                 3
Case 4:17-cv-00669-CVE-FHM Document 2 Filed in USDC ND/OK on 12/12/17 Page 4 of 5




  plausible allegation that the amount in controversy exceeds the jurisdictional threshold. Dart

  Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct. 547, 554, 190 L. Ed. 2d 495

  (2014). Punitive damages may be considered in determining the requisite jurisdictional

  amount. Woodmen of World Life Ins. Soc'y v. Manganaro, 342 F.3d 1213, 1218 (10th

  Cir.2003). Considering the $100,000 per person policy limits under the UM contract at issue,

  together with Plaintiff’s inclusion of their claim for punitive damages, the amount in

  controversy exceeds the amount which is required for diversity jurisdiction.

         9.      Pursuant to 28 U.S.C. § 1332(a)(1), this Court has jurisdiction because of the

  complete diversity of citizenship of the parties and there is a sufficient amount in

  controversy.

         10.     Pursuant to 28 U.S.C. § 1446(a), Defendant acknowledges that this Notice of

  Removal is signed and filed pursuant to Rule 11 of the Federal Rules of Civil Procedure.

         WHEREFORE, Defendant Metropolitan Group Property and Casualty Insurance

  Company, improperly named as Metropolitan Property and Casualty Insurance Company

  a/k/a and/or d/b/a MetLife Auto & Home, a/k/a and/or d/b/a MetLife, requests this Notice

  of Removal be accepted by this Court and that the lawsuit proceed as an action properly

  removed to this Court’s jurisdiction.




                                                                                              4
Case 4:17-cv-00669-CVE-FHM Document 2 Filed in USDC ND/OK on 12/12/17 Page 5 of 5




                                               /s/ Tim D. Cain                 12/12/2017
                                              Tim D. Cain, OBA #11779
                                              Wilson, Cain & Acquaviva
                                              300 N.W. 13th Street, Suite 100
                                              Oklahoma City, OK 73103
                                              (405) 236-2600
                                              (405) 236-2607 (Fax)
                                              timcain@swbell.net
                                              Attorney for defendant
                                              Metropolitan Group Property and Casualty
                                              Insurance Company, improperly named as
                                              Metropolitan Property and Casualty Insurance
                                              Company a/k/a and/or d/b/a MetLife Auto &
                                              Home, a/k/a and/or d/b/a MetLife



                               CERTIFICATE OF SERVICE

           X I hereby certify that on December 12, 2017, I electronically transmitted the
  attached document to the Clerk of the Court using the ECF System for filing. Based on the
  records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
  following ECF registrants:

  John Paul Truskett
  Samuel T. Perrine
  Ryan S. Wiehl
  Truskett Law Firm, PLLC
  2202 E. 49th Street, Suite 400
  Tulsa, OK 74105
  john@truskettlaw.com
  ATTORNEYS FOR PLAINTIFF

                                              /s/ Tim D. Cain
                                              Tim D. Cain




                                                                                                5
